CRIMINAL COVER SHEET
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

Indictment (x )
Complaint ( ) County of Offense: Davidson and Others
Information ( ) AUSA’s NAME: Amanda J. Klopf
Felony (x [count 4] )
Misdemeanor (x [count 2] ) Reviewed by AUSA: _AJK
Juvenile ( ) (Initials)
Caroline Davis
Defendant’s Full Name
Interpreter Needed? Yes Xx No

Defendant's Address
If Yes, what language?

Defendant's Attorney

COUNT(S) TITLE/SECTION OFFENSE CHARGED MAX. PRISON (plus MAX. FINE
any mandatory
minimum)
1 18 USC 241 Conspiracy to Obstruct Access to a Clinic | 10 years $250,000
Providing Reproductive Health Services
2 18 USC 248(a)(1), 2 Violation of the FACE Act Not more than 1 year.* | $10,000

* In the case of a second or subsequent offense after a prior conviction under this section, not more than 3 years

Is the defendant currently in custody? Yes () No (x ) If yes, State or Federal? Writrequested (  )
Has a complaint been filed? Yes () No (x )

If Yes: Name of the Magistrate Judge Case No.:

Was the defendant arrested on the complaint? Yes () No ()

Has a search warrant been issued? Yes (x) No ()
Was bond set by Magistrate/District Judge? Yes () No (x ) Amount of bond:
Is this a Rule 20? Yes ( ) No(x) To/from what district?
Is this a Rule 40? Yes ( ) No(x) To/from what district?
Estimated trial time: 5 days

The Clerk will issue (circle one) (Note: If information, request for a warrant requires presentment of a sworn affidavit of
probable cause to a judicial officer, who will determine whether to issue a warrant)

Detention requested: Yes() No(x) Recommended conditions of release: _Do not enter a facility that provides reproductive
health services without prior approval of the probation office

Case 3:22-cr-00327 Document 3-5 Filed 10/03/22 Page 1of1PagelD#: 16

